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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT COURT OF MARYLAND


 LESTER LEE
                                                  Case No. 8:24-cv-01205-TJS
       Plaintiff,

 vs.                                              ATTORNEY RICHARD ROSENTHAL’S
                                                  DECLARATION IN SUPPORT OF
 BROOKSIDE PARK CONDOMINIUM,                      MOTION FOR CLERK’S
 INC. METROPOLIS (aka MCM, INC.),                 CERTIFICATE OF DEFAULT
 RAMMY AZOULAY, AND CHARLES
 LAMONT SAVOY

                    Defendants.


        I, Richard Rosenthal, am an adult who is competent to make this declaration pursuant to

28 U.S.C. Section 1746 and I have firsthand knowledge of the facts set forth herein.

   1. This action was commenced on April 24, 2024 with the filing of a summons and
      complaint.

   2. A copy of the summons and complaint was personally served on Defendant Charles
      Lamont Savoy on June 10, 2024 at 7606 Prentice Court, Fort Washington, Maryland
      20744. (ECF 28).

   3. Defendant Charles Lamont Savoy has not answered the Complaint, nor has he appeared
      in any other manner in this case.

   4. No person has appeared on behalf of Defendant Charles Lamont Savoy.

   5. Plaintiff Lester Lee requests a Clerk’s Certificate of Default.



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RICHARD BRUCE ROSENTHAL
545 E. Jericho Turnpike
Huntington Station, NY 11746
(631) 629-8111 (telephone)
richard@thedoglawyer.com
